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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                              Case No. 10-20635
                        Plaintiff,                            Honorable David M. Lawson

 v.

 MARVIN J. DAVIS, JR.,

                   Defendant.
 _______________________________________/

                  ORDER DENYING MOTION FOR RECONSIDERATION

        On April 18, 2012, defendant Davis filed a motion to vacate his sentence pursuant to 28

 U.S.C. § 2255. The government requested additional time to respond, and the Court ordered the

 government to respond to the motion to vacate on or before August 26, 2012. On July 9, 2012, the

 defendant filed a motion for reconsideration of the Court’s order granting an extension of time. The

 defendant argues that the transcripts that the government indicated in its motion that it had yet to

 obtain were available beginning on April 30, 2012. The defendant also indicates that he does not

 object, in principle, to the government’s motion to extend time.

        Motions for reconsideration may be granted pursuant to E.D. Mich. LR 7.1(g)(1) when the

 moving party shows (1) a “palpable defect,” (2) that misled the court and the parties, and (3) that

 correcting the defect will result in a different disposition of the case. E.D. Mich. LR 7.1(g)(3). A

 “palpable defect” is a defect which is obvious, clear, unmistakable, manifest, or plain. Mich. Dep’t

 of Treasury v. Michalec, 181 F. Supp. 2d 731, 734 (E.D. Mich. 2002) (citations omitted). However,

 motions for reconsideration should not be granted when they “merely present the same issues ruled

 upon by the court, either expressly or by reasonable implication.” E.D. Mich. LR 7.1(g)(3).
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        The defendant appears to be correct that the transcripts in question were available to the

 government on April 30, 2012. However, the defendant’s motion must nevertheless be denied, as

 correcting this defect would not lead to a different disposition of the government’s motion to extend

 time. The government also indicated that it required additional time to consult with defense counsel

 before responding to the defendant’s motion. This provided a sufficient basis upon which to grant

 the government’s motion to extend.

        Accordingly, it is ORDERED that the defendant’s motion for reconsideration [dkt. #306]

 is DENIED.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

 Dated: July 20, 2012


                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on July 20, 2012.

                                                            s/Deborah R. Tofil
                                                            DEBORAH R. TOFIL




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